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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 MILDRED COLLINS-WILLIAMS as
 administrator of the estate of TIJUANA
 FRAZIER and as guardian and next
 friend of Quanisha Holt, a minor, and
 Pebbles McClain as guardian and next            CIVIL ACTION NO.
 friend of Julian Frazier and Isaiah             1:20-CV-3129-CAP
 Frazier, minor,                              Judge Steve C. Jones, Presiding

               Plaintiffs,
 V.

 CONTOUR EASTWYCK, LLC,

               Defendant.


                             COURT'S NOTICE OF FILING

       By direction of the Court upon request of counsel for Defendant, the attached

email regarding objections to deposition designations will be made part of the record in

this matter.

                              This 2l5t day of March, 2024.   --�

                                        Pamela Wright
                                        Courtroom Deputy Clerk for
                                        Honorable Steve C. Jones
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Pamela Wright

From:                          Hawkins, Jack <JHawkins@wwhgd.com>
Sent:                          Wednesday, March 20, 2024 6:46 PM
To:                            Pamela Wright; Alex Brown; Mike Rafi
Cc:                            Heydemann, Alexander; Sager, Rick; Kacie Butcher; Greenslit, Kristin
Subject:                       RE: Collins-Williams v Contour Eastwyck (Trial)
Attachments:                   Nora Prekelezaj-CT.pdf; Pete Dedvukaj-CT.pdf


CAUTION- EXTERNAL:




Hello Ms. Wright,

I am attaching the transcripts from the trial depositions of Nora Prekelezaj and Pete Dedvukaj. These
would be not be used until phase 2, if needed, and phase 3, if needed. The parties have agreed to
many designations, but have disagreements on the following:

Trial Deposition of Nora Prekelezaj:

Defendant's objections:

      •   5:4-23: Not relevant under FRE 401; Contour Eastwyck, LLC is the Defendant, not any other
          Contour entity
      •   6:2-12: This should only be admissible in Phase 3



Trial Deposition of Pete Dedvukaj:

Defendant's objections:
3 sections where he just did not hear the question because he was on Zoom:
   • 6:3-6: question and then "one more time"
   • 9:12-14- question and then "can your repeat"
   • 53:16-18: Question and "I did not understand"

Defendant's other objections:
   • 4:14-22: not relevant- even if relevant, more prejudicial than probative under 403
   • 11:13-12:24: not relevant- relates to what other entities who are not Contour Eastwyck do-
      even if relevant, more prejudicial than probative under 403
   • 19:17-18 and 20:6-12: This discusses insurance in violation of the MIL- that portion of the
      email #9 in that email needs to be redacted as well
   • 24:21-26:25- relevance under 401 and prejudicial under 403- this is about Biscayne, another
      complex, and is not relevant to this case
   • 31:6-13- same- this is about Biscayne
   • 49:12-15, 50:4-15, 51:21-52:18: This is the Mayes incident, which occurred after the incident in
      suit and which the Court has already ruled to be inadmissible on the Mils
                                                         1
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Defendant provided counter-designations for this deposition to which Plaintiffs objected, but did not
provide the basis for the objection. Here are Defendant's responses to the non-specific objections:
   • 8:8-25-This was responsive to the question asked
   • 23:1-12-not sure what the objection is here
   • 34: 12-that is part of the question and line 14 should be added as it was a response (or
       remove lines 6-11)
   • 34:23-35:2-relevant and admissible
   • 77:8-10, 14; 77:16-17-not sure what the objection is here-it is relevant to the founding of
       the company, which you asked about earlier
   • 78:4-22-relevant and admissible, we did not designate the extraneous stuff that was not
       responsive to the question
   • 81:22-83:13-relevant and admissible
   • 84:3 (beginning with "I believe you)-6 and 84:22-85:7 and 85:10-18-relevant and admissible
   • 86:3-10, 12, 21-24 - same
   • 87:5-9 - same
We can address these with the Court tomorrow.

Thank you.




 WWHGD
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